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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA
_______________________________________
                                            )
 COMMITTEE ON WAYS AND MEANS,               )
  UNITED STATES HOUSE OF                    )
  REPRESENTATIVES,                          )
                                            )
                     Plaintiff,             )
                                            )
                 v.                         )
                                            ) No. 1:19-cv-1974-TNM
 UNITED STATES DEPARTMENT OF THE )
  TREASURY, et al.,                         )
                                            )
                     Defendants,            )
                                            )
 DONALD J. TRUMP, et al.,                   )
                                            )
                     Defendant-Intervenors. )
_______________________________________)

                                    JOINT STATUS REPORT

       Pursuant to the Court’s May 3, 2021, Minute Order, the parties respectfully submit the

following joint status report.

       Joint Position of the Plaintiff and Defendants

       Plaintiff and Defendants advise the Court that they have had additional communications,

and anticipate still further communications, that may inform Defendants’ position in this case.

Plaintiff and Defendants therefore request that the parties be directed to file a further status

report on or before July 2, 2021.

       Defendants would not object in the meantime to a corresponding extension of the Court’s

prior Minute Orders requiring 72 hours’ notice to counsel for the Defendant-Intervenors before

any release of the Defendant-Intervenors’ tax-return information to the Committee.
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       Position of the Intervenor-Defendants

       Intervenor-Defendants do not oppose the government‘s proposal on how to proceed,

provided the court leaves in place the existing order allowing for notice and an opportunity to

challenge if the government’s position changes. Intervenor-Defendants have not yet been

included in any of the discussions between Plaintiff and the government.


Dated: May 28, 2021


                                                 Respectfully submitted,

                                                 BRIAN D. NETTER
                                                 Deputy Assistant Attorney General

                                                 JOHN R. GRIFFITHS
                                                 Director

                                                 ELIZABETH J. SHAPIRO
                                                 Deputy Director



                                                  /s/ James J. Gilligan
                                                 JAMES J. GILLIGAN
                                                 Special Litigation Counsel

                                                 SERENA M. ORLOFF
                                                 STEVEN A. MYERS
                                                 CRISTEN C. HANDLEY
                                                 Attorneys
                                                 U.S. Department of Justice
                                                 Civil Division, Federal Programs Branch
                                                 P.O. Box 883
                                                 Washington, D.C. 20044

                                                 Telephone:     (202) 514-3358
                                                 Fax:           (202) 616-8470
                                                 E-mail:        james.gilligan@usdoj.gov

                                                 Counsel for Defendants




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                               /s/ Douglas N. Letter
                              Douglas N. Letter (DC Bar No. 253492)
                                General Counsel
                              Todd B. Tatelman (VA Bar No. 66008)
                              Megan Barbero (MA Bar No. 668854)

                              OFFICE OF GENERAL COUNSEL
                              U.S. HOUSE OF REPRESENTATIVES
                              5140 O’Neill House Office Building
                              Washington, D.C. 20515

                              Telephone: (202) 225-9700
                              douglas.letter@mail.house.gov

                              Counsel for Plaintiff Committee on Ways and
                              Means, U.S. House of Representatives




                              /s / William S. Consovoy
                              William S. Consovoy (D.C. Bar #493423)
                              Cameron T. Norris
                              CONSOVOY MCCARTHY PLLC
                              1600 Wilson Boulevard, Suite 700
                              Arlington, VA 22209
                              (703) 243-9423
                              will@consovoymccarthy.com
                              cam@consovoymccarthy.com

                              Patrick Strawbridge (pro hac vice)
                              CONSOVOY MCCARTHY PLLC
                              Ten Post Office Square, 8th Floor
                              South PMB #706
                              Boston, MA 02109
                              (617) 227-0548
                              patrick@consovoymccarthy.com

                              Counsel for Intervenor-Defendants Donald J.
                              Trump, The Donald J. Trump Revocable Trust,
                              DJT Holdings LLC, DJT Holdings Managing
                              Member LLC, DTTM Operations LLC, DTTM
                              Operations Managing Member Corp, LFB
                              Acquisition Member Corp., LFB Acquisition
                              LLC, and Lamington Farm Club, LLC d/b/a
                              Trump National Golf Club-Bedminster



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